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6
7
                                IN THE UNITED STATES DISTRICT COURT
8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10    UNITED STATES OF AMERICA,   ) Case No. 2:18-cr-00191-MCE-1
                                  )
11              Plaintiff,        )
                                  ) ORDER TO FILE DEFENDANT’S EXHIBIT A
12         vs.                    ) TO ADDENDUM UNDER SEAL
                                  )
13    ZULEMA ELIZABETH RODRIGUEZ, )
                                  )
14              Defendant.        )
                                  )
15                                )
16
             IS HEREBY ORDERED that the Request to Seal Exhibit A to Zulema Rodriguez’s
17
     Addendum to the Sentencing Memorandum be GRANTED, so that the private information is not
18
     available on the public docket. The records are to be provided to the Court and opposing counsel.
19
             These documents shall remain under seal until further Order of the Court.
20
             IT IS SO ORDERED.
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     Dated: June 26, 2020
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27
28
     Order to Seal Documents                        -1-
